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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     GREENEVILLE

BAUDA VAUDA LEE SUTTON                         )
                                               )
V.                                             )                  NO. 2:04-CV-337
                                               )
PFIZER, INC., ET AL                            )

                                          ORDER

       This matter is before the United States Magistrate Judge, pursuant to the standing

order of the Court, with respect to the defendant’s Motion for Enlargement of Time [Doc.

5], and the Joint Motion to Stay [Doc. 6].

       The Joint Motion to Stay requests that all deadlines and required disclosures and any

other proceedings before this Court be stayed. The Judicial Panel on Multidistrict Litigation

[“MDL”] has entered an order consolidating and transferring dozens of similar cases across

the county to the District of Massachusetts. Defendants herein have filed a Notice of Related

Action in that case and both parties expect that an order will issue from the MDL transferring

this case to Massachusetts. The Motion to Stay is therefore GRANTED, and the stay shall

remain in effect for sixty (60) days after transfer of this action to the MDL Court, or until as

otherwise ordered by the MDL Court. The Motion for Extension of Time is DENIED in that

it is no longer relevant.



                                             SO ORDERED:



                                                   s/ Dennis H. Inman
                                                   United States Magistrate Judge
